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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,

 v.                         CASE NO. 8:12-CR-205-T-17MAP

 DEONTE JAMAL MARTIN.

                                    /


                                          ORDER


        This cause is before the Court on:

        Dkt. 1018     Order

       At the sidebar conference on July 26, 2016, the Court heard argument of
 counsel on the Unopposed Motion for Disclosure of Giglio Material (Dkt. 1011). Other
 Defendants have adopted Defendant Martin’s Motion.


        The assigned Magistrate Judge has entered an Order granting in part and
 denying in part the Unopposed Motion. (Dkt. 1018). In the Order, the Court found that
 Defendant Martin did not establish a compelling need for disclosure of the Pretrial
 Services Report as to Witness Eric Neri. Defendants have argued that Eric Neri is a
 critical witness and there is a compelling need for disclosure of the Pretrial Services
 Report. After consideration, the Court reconsiders the previous Order (Dkt. 1018) and
 the objection of Witness Neri, only as to disclosure of the Pretrial Services Report. The
 Court will provide a copy of the Pretrial Services Report for each defense counsel, for
 review by counsel only. The Pretrial Services Report shall not be disclosed or
 reproduced in any way. Each defense counsel shall review the Pretrial Services Report
 and return it to the Courtroom Deputy. Accordingly, it is


        ORDERED that the Court grants reconsideration of the Order (Dkt. 1018)
 granting in part and denying in part the Unopposed Motion, only as to disclosure of the
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 Pretrial Services Report. The Court will provide a copy of the Pretrial Services Report
 for review by defense counsel only, and which shall be returned to the Courtroom
 Deputy. The Pretrial Services Report shall not be disclosed or reproduced in any
 way.


         DONE and ORDERED in Chambers in Tampa, Florida on thi               day of July,
 2016.




 Julie Thomas, Esq.
 Counsel for Witness Neri




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